                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION

MENOMINEE INDIAN TRIBE OF WISCONSIN,                   )   No. 1:18-cv-00108 -WCG
                                                       )
                              Plaintiff,               )   (PROPOSED) FIRST AMENDED
                                                       )   COMPLAINT FOR DECLARATORY
       v.                                              )   AND INJUNCTIVE RELIEF
                                                       )
U. S. ENVIRONMENTAL PROTECTION                         )
AGENCY, ANDREW WHEELER, Acting                         )
Administrator, U. S. Environmental Protection          )
Agency, U. S. ARMY CORPS OF ENGINEERS,                 )
MARK T. ESPER, Secretary, U. S. Army,                  )
                                                       )
                              Defendants,              )
                                                       )
AQUILA RESOURCES, INC.,                                )
                                                       )
                              Defendant-Intervenor.    )
                                                       )


                                           INTRODUCTION

       1.      Plaintiff Menominee Indian Tribe of Wisconsin, a federally-recognized American

Indian Tribe (“Menominee Tribe” or “Tribe”), brings this action to protect the Menominee

Tribe’s environmental and cultural interests in the Menominee River, which borders both the

State of Michigan and the State of Wisconsin, and adjacent wetlands, and to protect many sites

of great cultural, religious, and historic significance to the Menominee Tribe.

       2.      The Menominee Tribe brings this complaint for declaratory and injunctive relief

to address the failure of the U.S. Environmental Protection Agency (“EPA”) and the U.S. Army

Corps of Engineers (“Corps”) to comply with Clean Water Act requirements concerning

jurisdiction and permitting for dredged or fill material in waters of the United States. EPA and

the Corps’ failure and refusal to exercise jurisdiction over the Clean Water Act, Section 404


                                                 1

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 1 of 25 Document 35-1
permitting for the proposed Back Forty Mine on the Menominee River violates Section 404 of

the Clean Water Act (“CWA”), 33 U.S.C. § 1344, and is arbitrary, capricious, and an abuse of

discretion under the Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq.

       3.      This Complaint raises four claims. The first claim is pursuant to the citizen suit

provision of the Clean Water Act, 33 U.S.C. § 1365(a)(2). EPA and the Corps have failed to

perform non-discretionary acts and duties in their failure to exercise federal jurisdiction and

control over the Section 404 permitting of the Back Forty Mine, which will dredge and/or fill

wetlands adjacent to the Menominee River and will affect the River itself. EPA and the Corps

have failed and refused their duty in favor of allowing the State of Michigan to exercise primary

jurisdiction over the Menominee River and adjacent wetlands, contrary to the plain language of

Section 404, 33 U.S.C. § 1344(g), where Congress directed that Section 404 permitting for

waters such as the Menominee River and adjacent wetlands cannot be delegated to a state.

       4.      The second claim is pursuant to the Administrative Procedure Act, 5 U.S.C. § 701

et seq. In both August of 2017 and November of 2017 the Menominee Tribe provided EPA and

the Corps with information, including the Corps’ own documentation, demonstrating that the

Menominee River and adjacent wetlands had not been, and could not have been, delegated to the

State of Michigan for the purpose of issuing permits under Section 404. The Tribe requested

EPA and the Corps to exercise their jurisdiction and take over the Section 404 permitting process

for the proposed Back Forty Mine, and EPA and the Corps have expressly refused to do so,

stating that jurisdiction lies with the State of Michigan by virtue of prior Section 404 permitting

delegation to the State.

       5.      The third claim is pursuant to the Administrative Procedure Act, 5 U.S.C. § 701 et

seq. On March 8, 2018 EPA objected to the proposed final Section 404 Permit for the Back



                                                 2

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 2 of 25 Document 35-1
Forty Mine because the proposed Permit did not comply with Clean Water Act regulations. On

May 3, 2018 EPA withdrew its objection based largely on proposed conditions, almost all of

which require Intervenor Aquila Resources, Inc. to submit additional information that must be

further reviewed and approved, even after the permit has been issued. EPA’s withdrawal of its

objections is contrary to law, including EPA and the Corps’ own regulations for Section 404

permitting, is arbitrary and capricious, and contrary to the record.

       6.      The fourth claim is pursuant to the Administrative Procedure Act, 5 U.S.C. § 701

et seq. EPA and the Corps have failed to initiate and complete consultation as required under

Section 106 of the National Historic Preservation Act, 54 U.S.C. § 306108. EPA and the Corps’

failure is agency action unlawfully withheld, arbitrary and capricious, and abuse of discretion,

contrary to law under 54 U.S.C. § 306108 and the Administrative Procedure Act, 5 U.S.C. §

706(1) and 706(2)(A) and (C).

       7.      The Menominee Tribe seeks a declaration that CWA Section 404 permitting

authority for the Back Forty Mine on the Menominee River and adjacent wetlands was not, and

could not have been, delegated to the State of Michigan, and a declaration that either: EPA and

the Corps have failed in their mandatory duty to exercise jurisdiction over Section 404 permitting

for the Back Forty Mine on the Menominee River and adjacent wetlands; or, alternatively, that

the Corps and EPA’s decision refusing jurisdiction in favor of a claim of delegation to the State

of Michigan, is a final agency action that is contrary to law, an abuse of discretion, and arbitrary

and capricious. The Menominee Tribe further seeks injunctive relief in the form of an order

directing EPA and the Corps to exercise Section 404 permitting jurisdiction over the Back Forty

Mine permit and process (mandatory duty) or remanding the decision to refuse jurisdiction to the

Corps and EPA for reconsideration in accordance with the record and the law.



                                                  3

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 3 of 25 Document 35-1
       8.      The Menominee Tribe further seeks a declaration that EPA’s withdrawal of its

objections to the Section 404 Permit was arbitrary and capricious, contrary to the record and/or

contrary to law and asks the court to issue and order remanding the matter to EPA for

reconsideration.

       9.      The Menominee Tribe further seeks a declaration that EPA and the Corps’ failure

to consult with the Menominee Tribe pursuant to Section 106 of the National Historic

Preservation Act is agency action unlawfully withheld, arbitrary and capricious, contrary to law,

and/or short of statutory right and asks the court to issue an order remanding to EPA and the

Corps and ordering consultation consistent with their obligations under the National Historic

Preservation Act.

                                 JURISDICTION AND VENUE

       10.     This complaint states a claim pursuant to the Clean Water Act, 33 U.S.C.

§1365(a), which provides that the federal district courts shall have jurisdiction to order the EPA,

and by extension the Corps, to perform nondiscretionary acts or duties, such as the obligation to

exercise federal jurisdiction over any Section 404 permitting for the Back Forty Mine.

       11.     This complaint also states, in the alternative, claims under the Administrative

Procedure Act, 5 U.S.C. § 701 et seq., which authorizes the federal district courts to find

unlawful and set aside final agency actions that are arbitrary and capricious, an abuse of

discretion or otherwise not in accordance with applicable law. Id. § 706.

       12.     Jurisdiction also arises under 28 U.S.C. § 1362, which provides that “district

courts shall have original jurisdiction of all civil actions, brought by any Indian Tribe or band

with a governing body duly recognized by the Secretary of the Interior, wherein the matter in

controversy arises under the Constitution, laws, or treaties of the United States.” In such actions,



                                                 4

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 4 of 25 Document 35-1
the federal district courts are authorized to grant declaratory and injunctive relief. 28 U.S.C. §§

2201 and 2202.

        13.     Venue is appropriate in the Eastern District of Wisconsin under 28 U.S.C. §

1391(e) as the defendants are officers and agencies of the United States Government, the

Menominee Tribe and its reservation lands are wholly within the State of Wisconsin, the

Menominee Tribe’s ancestral and ceded lands are in the States of Wisconsin and Michigan, the

Menominee River forms the border between the states of Michigan and Wisconsin, the Section

404 permits for the Back Forty Mine will affect the Menominee River and wetlands and waters

on both sides of the river, and the Section 404 permits will affect Menominee cultural, religious,

and historic sites on both sides of the river.

                                    PARTIES AND STANDING

        14.     The Menominee Indian Tribe of Wisconsin is a federally-recognized Indian tribe.

The Menominee Tribe’s ancestral territory spans the area now known as the State of Wisconsin,

and parts of the States of Michigan and Illinois. In treaties with the United States in 1831, 1832,

1836, 1848, and 1854 the Menominee Tribe ceded a large portion of their ancestral territory,

comprised of the Menominee River and areas along the River, including Green Bay, but retained

a tract of land in reserve lying along the Wolf River in Wisconsin, which is now the present day

Menominee Indian Reservation. The Menominee Tribe’s governing headquarters are currently

located in Keshena, Wisconsin.

        15.     Since time immemorial the Menominee Tribe has lived, hunted, fished, gathered,

farmed and otherwise occupied and used the ceded lands, including the lands around the

Menominee River. The Menominee Tribe has also practiced cultural and religious ceremonies in

reservation lands, ceded lands, and included lands around the Menominee River. The



                                                 5

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 5 of 25 Document 35-1
Menominee Tribe’s connection to the Menominee River is existential as the Menominee Tribe’s

origin story takes place at the mouth of the Menominee River.

        16.    Important ceremonial, cultural, and historic sites on or near the Menominee River,

including burial mounds, ancient agricultural sites, dwelling sites, and cultural sites such as

dance rings, are still present along the River on both the Wisconsin and Michigan banks of the

River and extending into the surrounding forested areas where the proposed Back Forty mine and

processing facilities will be located. Some of these sites have been identified by historians and

researchers and/or by consultants for Aquila Resources, Inc. the proponent of and potential

permittee for the Back Forty Mine project and some are already listed as eligible or potentially

eligible for listing on the national register. Many additional historic, ceremonial, and cultural

sites in the area have yet to be acknowledged, cataloged, or researched.

        17.    The Menominee Tribe has standing to bring this action. The Menominee Tribe

and its members continue to use and enjoy their ceded lands, including the Menominee River,

adjacent wetlands, and surrounding areas for recreation, hunting, and fishing, and continue to be

culturally, spiritually, and historically connected to the cultural, ceremonial, religious, and

historic sites that will be affected by the Back Forty Mine. The Menominee Tribe and its

members have been harmed, are being harmed, and will be harmed by EPA and the Corps’

failure to exercise federal jurisdiction over the Section 404 permitting of the Back Forty Mine as

set forth in this complaint. The relief requested herein will offer partial or whole redress for that

harm.

        18.    The U.S. Army Corps of Engineers is charged with and authorized under the

Clean Water Act, to issue Section 404 permits, after notice and opportunity for public hearing,




                                                  6

        Case 1:18-cv-00108-WCG Filed 09/11/18 Page 6 of 25 Document 35-1
for the discharge of dredged or fill material into navigable waters at specified disposal sites. 33

U.S.C. § 1344(a).

        19.     Mark T. Esper is the Secretary of the Army, the Chief Officer of the Corps, and is

the federal official ultimately responsible for the Corps’ administration and implementation of its

duties and authorities under the Clean Water Act, Section 404. Secretary Esper is sued in his

official capacity.

        20.     The U.S. Environmental Protection Agency is an agency of the United States

charged with overseeing Section 404 permitting through which EPA may prohibit specification

(including the withdrawal of specification) of areas that have been defined as disposal sites under

Section 404(a) and EPA may deny or restrict the use of any defined area as a disposal site

whenever the EPA Administrator determines, after notice and public hearings and review and

consultation with the Corps, that the discharge of materials into the area will have an

unacceptable adverse effect on municipal water supplies, shellfish beds and fishery areas,

wildlife, or recreation areas. 33 U.S.C. § 1344(c).

        21.     EPA is further charged with overseeing delegation of Section 404 permitting to a

state over some, but not all, waters where the proposed delegated state demonstrates certain

criteria to EPA. 33 U.S.C. §§ 1344(g) and (h). Even after delegation, EPA retains authority to

oversee a delegated state’s Section 404 permitting, including objecting to proposed permits or

portions of permits.

        22.     Andrew Wheeler, the current Acting Administrator of EPA, is the acting chief

officer of EPA. Acting Administrator Wheeler is the federal official ultimately responsible for

EPA’s administration and implementation of its legal duties. Acting Administrator Wheeler is

sued in his official capacity.



                                                 7

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 7 of 25 Document 35-1
       23.     Both the EPA and the Army Corps of Engineers are federal agencies pursuant to

the National Historic Preservation Act, and with direct or indirect jurisdiction over a proposed

federal or federally assisted undertaking. 54 U.S.C. § 300301 and § 306018.

       24.     By filing this action, the Menominee Indian Tribe of Wisconsin does not waive or

limit its sovereign immunity and does not consent to suit as to any claim, demand, offset, or

cause of action of the United States, it agencies, officers, agents, or any other person or entity in

this or any other court.

                     STATUTORY AND REGULATORY BACKGROUND

I.     THE CLEAN WATER ACT

       25.     Congress enacted the Clean Water Act to “restore and maintain the chemical,

physical, and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a).

       26.     The Clean Water Act accomplishes this goal through a number of regulatory and

permitting requirements. Foremost is the complete prohibition on any discharges of any

pollutant, absent compliance with the regulatory requirements of the CWA. 33 U.S.C. § 1311(a).

The prohibition applies to discharges of dredged or fill material into waters of the United States,

absent a permit from the Corps (“Section 404 permits). 33 U.S.C. § 1344(a).

       27.     The Corps issues a Section 404 permit after engaging in, among other things, site

specific documentation of waters and wetlands, analysis of potential impacts to those waters and

wetlands from dredging and filling, analysis of mitigation including the proposal, magnitude, and

quality of mitigation, public notice and opportunity for hearing, public interest analysis, and

ultimately a formal determination. 33 C.F.R. § 322.3, and Pts. 323 and 325.

       28.     The Corps’ Section 404 permit process is a federal action that also implicates the

potential application of other federal statutes and requirements such as environmental review

under the National Environmental Policy Act, 42 U.S.C. § 4332, consultation with the U.S. Fish

                                                  8

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 8 of 25 Document 35-1
and Wildlife Service under the Endangered Species Act, 16 U.S.C. § 1536, and/or consultation

with Indian tribes under the National Historic Preservation Act. 54 U.S.C. § 306109.

          29.   EPA is authorized to prohibit the discharge of dredge or fill material at sites

specified in a Corps’ Section 404 permit whenever EPA determines that the discharge will have

an unacceptable adverse effect on municipal water supplies, shellfish beds and fisheries, wildlife,

or recreational areas. 33 U.S.C. § 1344(c). EPA has promulgated rules for executing its Section

404 authority and obligations at 40 C.F.R. Pt. 231.

          30.   Under the Clean Water Act, states may apply to EPA to be delegated the authority

to administer a Section 404 permitting program for the discharge of dredged or fill material into

navigable waters in their state, but those waters do not and cannot include “waters which are

presently used, or are susceptible to use in their natural condition or by reasonable improvement

as a means to transport interstate or foreign commerce shoreward to their ordinary high water

mark. . . including wetlands adjacent thereto.” 33 U.S.C. § 1344(g).

          31.   EPA retains the authority to review and object to permits proposed to be issued in

a delegated state, such as Michigan, and EPA consults with the Corps and other federal agencies

in reviewing and commenting on proposed permits within delegated states. 40 C.F.R. § 233.50

et seq.

II.       NATIONAL HISTORIC PRESERVATION ACT

          32.   Section 106 of the National Historic Preservation Act requires that prior to

issuance of a federal permit or license, federal agencies shall take into consideration the effects

of that undertaking on historic properties. 54 U.S.C. § 306108. Agencies must complete the

Section 106 consultation process prior to the issuance of any license. 36 C.F.R. § 800.1.

          33.   Undertaking is defined as a project, activity or program under the direct or

indirect jurisdiction of a federal agency, including those requiring a federal permit, license or
                                                  9

          Case 1:18-cv-00108-WCG Filed 09/11/18 Page 9 of 25 Document 35-1
approval and those subject to State or local regulation administered pursuant to a delegation or

approval by a federal agency. 54 U.S.C. § 300320; 36 C.F.R. § 800.16(y).

       34.     The agency must determine the area of potential effects for the undertaking early

in the Section 106 consultation process. 36 C.F.R. § 800.4(l)(1). The area of potential effects is

defined to include the area where the undertaking may directly or indirectly cause alterations in

the character or use of historic properties and it is influenced by the specific scale and nature of

the undertaking. 36 C.F.R. § 800.16(d).

       35.     The Section 106 process specifically requires consultation with Indian Tribes on

federal undertakings that potentially affect sites that are culturally significant to Indian Tribes.

54 U.S.C. § 303707; 36 C.F.R. § 800.2(c)(2). Consultation with a Tribe must occur regarding

sites with “religious and cultural significance” on both lands within the boundaries of a

reservation and on ancestral or ceded land. 36 C.F.R. § 800.2(c)(2)(II)(D).

       36.     In consultation with any Indian Tribe that may attach religious and cultural

significance to properties within the area of potential effects, the federal agency official shall

take steps necessary to identify historic properties within the area of potential effects, Id. §

800.4(b), and must evaluate the historic significance of such sites and determine whether they are

potentially eligible for listing under the National Register of Historic Places. Id. § 800.4(c). In

so doing, the federal agencies must make a reasonable and good faith effort to ensure the process

allows full participation by the tribe and that the manner in which the agency consults is

respectful of tribal sovereignty. Id.§ 800.2(c)(2).

       37.     If the agency determines no historic properties will be affected, it must provide

notice of the finding to state and tribal historic preservation offices and the Advisory Council on




                                                  10

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 10 of 25 Document 35-1
Historic Preservation (“ACHP”). 36 C.F.R. § 800.4(d). Those parties have the opportunity to

object to such a finding, which in turn elevates the consultation process further. Id.

       38.     If the agency finds the historic properties are affected, it must provide notification

to all consulting parties and invite their views. Any adverse effect to historic properties must be

resolved, involving all consulting parties and the public. 36 C.F.R. § 800.6. If the adverse

effects cannot be resolved, the process is elevated to the ACHP and the head of the agency that is

undertaking the action. The action in question cannot go forward until this process is complete.

36 C.F.R. § 800.7.

                                   FACTUAL BACKGROUND

I.     THE MENOMINEE TRIBE’S CONNECTION TO THE MENOMINEE RIVER

       39.     Since time immemorial, the Menominee people have used and occupied a broad

area throughout the part of the country that is now within the boundaries of the States of

Wisconsin, Michigan, and Illinois. This area includes the present day Menominee reservation in

Wisconsin, and it also includes the Menominee River that forms the border of Michigan and

Wisconsin, the lands bordering Green Bay, and the forests, wetlands, lakes, rivers and streams

throughout that area. Within this area, the Tribe hunted, fished, farmed, and lived.

       40.     Within the Tribe’s ancestral territory, the landscape is filled with sites of cultural,

religious, ceremonial, and historic significance to the Menominee Tribe. The mouth of the

Menominee River, where the River flows into the Bay of Green Bay, Lake Michigan, is the site

of the Tribe’s sacred place of origin. The banks of the Menominee River, including land on and

near the Back Forty Mine site, contains cultural, ceremonial, and historic areas and sites that the

Menominee Tribe, independent researchers, government personnel, and contractors have

identified, including burial mounds, historic agricultural sites, dwelling sites, and cultural sites.

Some of these sites, such as terraced agricultural sites along the river, may currently lie below

                                                  11

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 11 of 25 Document 35-1
the high water mark of the Menominee River. There are many additional sites that have not yet

been formally, or informally, identified because there has not been a proper, comprehensive

survey of the entire area to date. These sites occur over the entirety of the Menominee Tribe’s

ancestral territory, including areas outside of the Tribe’s current reservation boundaries. The

Menominee Tribe’s cultural resources and historical resources are tied to its ancestral territories.

       41.     Protection of the Menominee Tribe’s cultural heritage is of supreme importance

to the Menominee Tribe. Destruction or damage to any one cultural resource, site, or landscape

contributes to destruction of the Tribe’s culture, history, and religion. Injury to the Menominee

Tribes’ cultural resources causes injury to the Tribe and its members.

       42.     The Menominee Tribe also has a cultural and religious interest in protecting and

preserving the quality of the land, water, air, fauna, and flora within the Tribe’s ancestral lands,

including along the Menominee River. The Menominee Tribe has recently worked to reestablish

wild rice at the mouth of the Menominee River, which is the Tribe’s place of creation and is of

critical importance to the Tribe’s culture and history. Wild rice is highly susceptible to

pollutants from mining and industry. The Tribe also has an interest in protecting the Lake

Sturgeon that migrate up the Menominee River. The Tribe is culturally tied to the Lake

Sturgeon: it is part of the clan structure of the Tribe, and catching and consuming Lake Sturgeon

is integral to the Tribe’s cultural and ceremonial practices. Menominee Tribal members also

currently hunt, fish, and practice ceremonies throughout their ancestral lands, including the

Menominee River, for cultural and recreational purposes, and for subsistence.

II.    THE SECTION 404 PERMITTING PROGRAM AND DELEGATION

       43.     In December 1979, consultants retained by the Corps researched and reported to

the Corps that the Menominee River and wetlands adjacent thereto is an interstate water which is

presently used, or susceptible to use, in its natural condition or by reasonable improvement as a
                                                 12

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 12 of 25 Document 35-1
means to transport interstate or foreign commerce shoreward to their ordinary high water mark in

accord with the definition in 33 U.S.C. § 1344(g) and Section 10 of the Rivers and Harbors Act.

       44.     Based, at least in part, upon the 1979 report and supporting research, Counsel for

the Corps’ Detroit Office recommended including the Menominee River and adjacent wetlands

on a list of such “Section 10” waters in January 1982.

       45.     In 1984, EPA approved the delegation of Section 404 permitting to the State of

Michigan under 33 U.S.C. § 1344(g).

       46.     The Menominee Tribe maintains that the Menominee River has not been, and

could not have, delegated in under applicable law.

       47.     The Menominee River has been, and continues to be, used for interstate

commerce, including the portions of the River at the location of, and downstream from, the

proposed Back Forty Mine. Many area businesses rely on the River and use it for fishing,

boating, recreation, commerce, and industry. The Menominee River includes a bi-state

designated recreation area.

       48.     Under the Clean Water Act, EPA, in conjunction with the Corps, developed

guidelines for Section 404 permitting. 33 U.S.C. § 1344(b). Section 404 Permits must comply

with CWA 404 Guidelines.

       49.     Each state administering a delegated permitting program must transmit the

proposed Section 404 permit to EPA. EPA may review and comment on a proposed permit.

Further, the EPA may object to a proposed Section 404 permit. If the EPA objects to a permit,

the state may not issue the Section 404 permit until the permit is revised to address the EPA’s

objections. 33 U.S.C. § 1344(j). If EPA’s objections are not resolved, then the Corps assumes

permitting authority for the Section 404 permit. Id.



                                                13

      Case 1:18-cv-00108-WCG Filed 09/11/18 Page 13 of 25 Document 35-1
       50.     EPA’s Section 404 Guidelines, which apply to both Corps and state-issued

permits, are at 40 C.F.R. pt. 230. The guidelines dictate the information that must be provided

for proper review and assessment of proposed permits, 40 C.F.R. § 230.5, sets restrictions on

discharges allowed or covered by the permits, § 230.10, dictate how to assess chemical, physical

an biological impacts from the proposed permit mitigation for those impacts, pt. 230, subparts C-

J, and provide specific requirements and direction for how permitting agencies, including states

must analyze, make their decisions, and document their decisions regarding adequacy of

information, whether to grant permits and specifics of permit terms. §§ 230.10-12.

       51.     Under EPA’s guidelines all factual determinations necessary for a permit must be

made in writing and be specific for each Section 404 permit. 40 C.F.R. § 230.11. Further, the

permitting agency must make specific, written findings concerning issuance of the Section 404

permit and compliance with the guideline requirements based on the written evidence-based

factual determinations. Id. at 230.12.

III.   THE BACK FORTY MINE PROJECT AND PERMITS

       52.     The Back Forty Mine (“Mine”) is a proposed sulfide mine sited on the banks of

the Menominee River in Menominee County, Michigan (named after the Menominee Tribe).

       53.     Sulfide mines or sulfide ores refer to the properties of the rock that bear minerals

such as gold, platinum, nickel, copper, or other minerals found in sulfide ores. The sulfide ores

are reactive, meaning that they will form acids when exposed to water and air resulting in what is

commonly referred to as “acid mine drainage,” where there is runoff or leaching from mine

surfaces and/or waste rock or tailings. The pollutants in this runoff are damaging to fish,

vegetation, and water quality generally. Moreover, the sulfates in runoff or wastewater from

mining are highly damaging to wild rice.



                                                14

       Case 1:18-cv-00108-WCG Filed 09/11/18 Page 14 of 25 Document 35-1
       54.     The Mine proponent is a Canadian company, Defendant-Intervenor Aquila

Resources, Inc. (“Aquila”).

       55.     In November 2016 Aquila applied to the Michigan Department of Environmental

Quality (“DEQ”) for a Section 404 Permit to allow Aquila to alter, destroy and/or eliminate

waters and wetlands on and near the Mine site through discharge of dredge or fill material related

to construction and operation of the Mine.

       56.     As part of its Section 404 application (and other state permits necessary for the

Mine), Aquila completed an Environmental Assessment (“EA”) document under Michigan State

law. The EA provided, among other things, that the Mine would adversely affect a number of

area wetlands, as well as affect the water table throughout the entire area, which will have

attendant effects on the Menominee River itself and wetland areas on the Wisconsin side of the

river. The EA shows that the Mine pit will actually alter the hydrology of the entire area during

the period of time the Mine is in operation and for some years thereafter.

       57.     The EA also included the presence of a number of cultural and historic sites

important to the Menominee Tribe that will be adversely affected, and potentially permanently

damaged, by the presence of the Mine, including burial mounds, historic agricultural sites, and

cultural sites. The EA is not a full survey of the entire area of the Mine or area that may be

affected by the Mine and does not represent a complete identification of all potential cultural,

historic or religious sites of importance to the Menominee Tribe.

       58.     In accordance with EPA regulations regarding delegated Section 404 programs, in

May of 2016, DEQ supplied EPA with a copy of the application for the section 404 permit for

the Mine. On August 15, 2016, after providing the proposed project and permit application to

the Corps and U.S. Fish and Wildlife Service in accordance with EPA’s Section 404 regulations



                                                15

      Case 1:18-cv-00108-WCG Filed 09/11/18 Page 15 of 25 Document 35-1
for delegated programs, EPA objected to the proposed Section 404 permit for the Back Forty

Mine because Aquila had not complied with EPA’s CWA Section 404 Guidelines on matters

such as completeness, stream and wetland impacts, cultural resources, mitigation and monitoring

plans. As a result, Aquila withdrew the application in September of 2016.

       59.     On January 17, 2017, Aquila reapplied to the State of Michigan for the Section

404 permit. From the date of its original application in January of 2017, through December of

2017, Aquila continued to update the application. On December 8, 2017, the application was

finally deemed administratively complete by the State.

       60.     On August 21, 2017, the Menominee Tribe provided a letter to EPA and the

Corps (copying DEQ), highlighting and noting to EPA and the Corps, the 1979 Corps’

consultants’ navigability report regarding the status of the River and adjacent wetlands and

providing additional evidence of interstate commerce on the Menominee River. In that same

letter, the Menominee Tribe advised the EPA and the Corps that they were the proper authorities

over the Section 404 permitting for the Mine, because the Menominee River and adjacent

wetlands were not and could not be delegated to the State of Michigan in 1984 under 33 U.S.C. §

1344(g). The Tribe asked the EPA and the Corps to review the matter and make the

jurisdictional determination.

       61.     Also in the August 21, 2017 letter, the Menominee Tribe described to EPA and

the Corps the application of NHPA requirements that would be and are part of the Corps’ and

EPA’s responsibilities as federal agencies for the cultural and historic sites along the Menominee

River which would be affected by the Section 404 permit for the Mine.




                                                16

      Case 1:18-cv-00108-WCG Filed 09/11/18 Page 16 of 25 Document 35-1
        62.    Similarly, on August 18, 2017, Senator Baldwin of Wisconsin wrote to the Corps

and requested that the federal agencies take jurisdiction of the Section 404 permitting for the

Mine.

        63.    On August 25, 2017, the Corps responded to Senator Baldwin declining to

exercise jurisdiction over the Section 404 permit for the Mine.

        64.    On September 28, 2017, the Corps responded to the Menominee Tribe. In that

letter, the Corps did not specifically address the Menominee River’s status as an interstate water

used for the transport of interstate commerce. The Corps did respond that it would not exercise

jurisdiction over the Section 404 permit for the Mine because the State of Michigan was

delegated authority over Section 404 permitting and that EPA would exercise its authority to

review and comment and potentially object to the proposed permit at a later date.

        65.    On October 13, 2017, EPA responded to the Menominee Tribe offering to

“consult” with the Tribe regarding the Section 404 permit process, but it did not specify under

which legal obligation it was offering to do so, nor did it specify topics on which to “consult.”

EPA also did not address the issue with respect to the Menominee River’s status as an interstate

water used for the transport of interstate commerce.

        66.    In a subsequent telephone conference between the Tribe and EPA, EPA stated

that it could not discuss any matter that was related to the subject of this case.

        67.    As of the date of this First Amended Complaint, neither EPA nor the Corps have

initiated NHPA consultation with the Menominee Tribe concerning the Section 404 Permit for

the Mine and the Menominee cultural historic sites at or near the Mine that will or may be

adversely affected by the Mine.




                                                  17

        Case 1:18-cv-00108-WCG Filed 09/11/18 Page 17 of 25 Document 35-1
       68.       By letter dated November 6, 2017, the Menominee Tribe provided the EPA and

the Corps with 60 days advanced Notice of Intent to Sue under the Clean Water Act, 33 U.S.C. §

1365, for the failure of EPA and the Corps to comply with their mandatory duty to exercise

jurisdiction over the Section 404 permit for the Back Forty Mine based on the fact that the

Menominee River and its adjacent wetlands were not part of, and could not have been part of, a

Section 404 delegation to the State of Michigan under 33 U.S.C. § 1344(g).

       69.       Upon information and belief, the State of Michigan supplied EPA with a copy of

the proposed Section 404 Permit on April 5, 2018.

       70.       By letter dated March 8, 2018, EPA objected to the proposed Section 404 Permit

for the Mine with an enclosure listing a number of grounds for its objection. Among the grounds

for objection were the following:

             •   Aquila did not adequately describe the Mine project such that Michigan DEQ or
                 could not adequately assess the extent of the proposed Mine’s impact on aquatic
                 resources or determine whether Aquila had minimized or avoided those impacts;

             •   Aquila did not provide enough information understand or assess the Mine’s
                 potential impact to aquatic resources;

             •   Aquila did not sufficiently explain or document how the Mine will ensure
                 discharges to the Menominee River and related wetlands will meet applicable
                 water quality standards. This includes a failure to provide sufficient information
                 for monitoring locations, minimization measures, or adaptive management
                 procedures to prevent leaching of toxic compounds from mine facilities and pit;

             •   Aquila did not adequately characterize the Mine’ project’s secondary impacts on
                 the area wetlands because it lacked information regarding the extent of wetlands
                 that will be affected by the Mine project or its related water drawdown of some
                 125,000 gallons per day;

             •   Failure by Aquila and the State of Michigan to adequately investigate and
                 properly assess the proposed wetland mitigation measures and failure to provide
                 information sufficient for EPA to judge whether the proposed mitigation meets
                 regulatory requirements.



                                                  18

      Case 1:18-cv-00108-WCG Filed 09/11/18 Page 18 of 25 Document 35-1
        71.       EPA directed, in its March 8, 2018 letter, that in order to address its objections,

Michigan shall require Aquila to provide additional information on the Mine project, including:

              •   Adequate characterization of wetland impacts, including secondary wetland and
                  stream impacts;

              •   Additional detailed information regarding monitoring, impact criteria, and
                  specific adaptive management mechanisms sufficient to demonstrate avoidance
                  and minimization of impacts to aquatic resources and preventions of
                  contamination;

              •   Demonstration with supporting documentation that the Mine site is protective of
                  water quality in the Menominee River and other waters throughout the area for
                  both the life of the Mine and post-mine closure;

              •   Additional documentation for assessing Menominee River bank stability and
                  erosion potential in order to assess and demonstrate mine integrity;

              •   Additional documentation necessary to demonstrate that the proposed
                  preservation area meets the requirements of federal mitigation requirements.

        72.       By letter dated May 3, 2018, EPA withdrew its objections to the Section 404

Permit for the Mine in its entirety, claiming that EPA’s objections had been satisfied based in

large part on the State of Michigan agreeing to conditions in the Permit that will require future

actions and approvals that occur after the final permit has been issued and without public input.

        73.       The May 3, 2018 letter does not cite to record evidence nor does it provide any

analysis, detail, or explanation of why future promises or conditions that will not be specified or

imposed until after final permit issuance address any, much less all, of EPA’s initial objections to

the Section 404 Permit or the failures under EPA guidelines that EPA had previously identified.

        74.       On June 3, 2018, the State of Michigan issued the final Section 404 Permit for the

Mine.




                                                    19

        Case 1:18-cv-00108-WCG Filed 09/11/18 Page 19 of 25 Document 35-1
       75.     As of the date of this First Amended Complaint the Corps and EPA have not

assumed jurisdiction over the Section 404 permit and process for the Back Forty Mine on the

Menominee River.

                                  FIRST CAUSE OF ACTION

 EPA AND THE CORPS ARE IN VIOLATION OF THEIR MANDATORY DUTIES UNDER
                 THE CLEAN WATER ACT, TITLE 33, U.S.C.

       76.     The Menominee Tribe re-alleges and incorporates each of the preceding

paragraphs.

       77.     The Clean Water Act prohibits any discharge of any pollutant, absent compliance

with the regulatory requirements of the Clean Water Act, 33 U.S.C. § 1311(a), and prohibits any

discharges of dredged or fill material into waters of the United States, absent a permit from the

Corps. 33 U.S.C. § 1344(a).

       78.     While the Clean Water Act allows for EPA to approve the delegation of some

Section 404 permitting to a state, 33 U.S.C. § 1344(g), permits in waters and their adjacent

wetlands that are used, or could be used, in their natural condition or with reasonable

improvement for transport in interstate commerce is not and cannot be delegated to a state. Id.

       79.     The Menominee River and its adjacent wetlands are waters that are used, or could

be used, in their natural condition or with reasonable improvement for transport of interstate

commerce and the Menominee River and its adjacent wetlands were not and could not be

delegated for the Back Forty Mine’s Section 404 permitting to the State of Michigan.

       80.     EPA and the Corps’ failure to exercise jurisdiction over the Section 404

permitting for the Back Forty Mine on the Menominee River is a violation of their mandatory

duties to exercise jurisdiction over Section 404 permitting under the Clean Water Act.




                                                20

      Case 1:18-cv-00108-WCG Filed 09/11/18 Page 20 of 25 Document 35-1
       81.     Based on the foregoing, and 33 U.S.C. §§ 1311, 1344(g), and 1365, Menominee

Tribe is entitled to an order declaring EPA and the Corps in violation of the Clean Water Act and

ordering EPA and the Corps to assume jurisdiction over the Section 404 permitting for the Back

Forty Mine.

                                 SECOND CAUSE OF ACTION

  EPA AND THE CORPS’ REFUSAL TO EXERCISE JURISDICTION IS AN ABUSE OF
 DISCRETION, ARBITRARY AND CAPRICIOUS, AND CONTRARY TO LAW, 5 U.S.C. §
                               706(2)(A)

       82.     The Menominee Tribe re-alleges and incorporates each of the preceding

paragraphs.

       83.     The Administrative Procedure Act authorizes courts reviewing agency action to

hold unlawful and set aside final agency action, findings and conclusions that are arbitrary and

capricious, an abuse of discretion, or otherwise not in accordance with the law. 5 U.S.C. §

706(2)(A)

       84.     The Corps itself recognized that the Menominee River and adjacent wetlands are

interstate waters that are presently used and/or could be used in their natural condition or with

reasonable improvement, to transport interstate commerce. The Corps has been provided further

evidence of that use in interstate commerce for fishing, boating, commerce, and industry.

       85.     EPA and the Corps’ refusal to exercise jurisdiction over the Section 404

permitting for the Back Forty Mine permit is contrary to the Clean Water Act which plainly

provides that Section 404 permitting for the Back Forty Mine on the Menominee River and its

adjacent wetlands were not and could not be delegated to the State of Michigan in 1984.

       86.     EPA and the Corps’ responses to Senator Baldwin and the Menominee Tribe

constitute final agency action on the matter of exercising jurisdiction over the Section 404 permit

and process for the Back Forty Mine.

                                                 21

      Case 1:18-cv-00108-WCG Filed 09/11/18 Page 21 of 25 Document 35-1
       87.     EPA and the Corps’ refusal to exercise jurisdiction over the Section 404

permitting for the Back Forty Mine permit is arbitrary, capricious, an abuse of discretion, and not

in accordance with the law.

       88.     Based on the foregoing and 33 U.S.C. § 1344(g) and 5 U.S.C. § 706(2)(A), the

Menominee Tribe is entitled to an order declaring EPA and the Corps in violation of the Clean

Water Act and their refusal to exercise jurisdiction as arbitrary, capricious, and an abuse of

discretion, and remanding to EPA and the Corps to reconsider their refusal to assume jurisdiction

over the Section 404 permitting for the Back Forty Mine and to do so in accordance with the

requirements of the Clean Water Act.

                                  THIRD CAUSE OF ACTION

         EPA’S WITHDRAWAL OF ITS OBJECTIONS TO THE SECTION 404 PERMIT IS
             AN ABUSE OF DISCRETION, ARBITRARY AND CAPRICIOUS, AND
                         CONTRARY TO LAW, 5 U.S.C. § 706

       89.     The Menominee Tribe re-alleges and incorporates each preceding paragraph.

       90.     Under the Clean Water Act 33 U.S.C. § 1344(b) and (j) and 40 C.F.R. pt. 230,

EPA objected to the proposed Section 404 Permit for multiple errors, deficiencies and failures to

conform to the requirements of the statute and EPA Guidelines in 40 C.F.R. pt. 230.

       91.     EPA’s withdrawal of its objections failed to conform to EPA’s own regulations

regarding the requirements to issue Section 404 permits and failed to conform to EPA’s own

regulations regarding factual determinations and findings for Section 404 permits.

       92.     EPA’s withdrawal of its objections is not evidence and record-based, lacks an

explanation and is arbitrary and capricious, an abuse of discretion and contrary to applicable law.

       93.     Based on the foregoing, 33 U.S.C. § 1344(b) and (j), 40 C.F.R. pt. 230, and 5

U.S.C. § 706(2)(a), the Menominee Tribe is entitled to an order declaring EPA in violation of the



                                                 22

      Case 1:18-cv-00108-WCG Filed 09/11/18 Page 22 of 25 Document 35-1
Clean Water Act and its own regulations and finding that EPA’s withdrawal of its objection to

the Section 404 Permit for the Back Forty Mine to be arbitrary and capricious, an abuse of

discretion and contrary to law and the Tribe is entitled to an order remanding the decision to

withdraw its objections back to EPA for reconsideration consistent with the record and

application of EPA’s own permitting regulations.

                                  FOURTH CAUSE OF ACTION

  EPA AND THE CORPS’ FAILURE TO COMPLY WITH THE NATIONAL HISTORIC
PRESERVATION ACT IS AN ABUSE OF DISCRETION, ARBITRARY AND CAPRICIOUS,
                AND CONTRAY TO LAW, 5 U.S.C. § 706(2)(A)

         94.   The Menominee Tribe re-alleges and incorporates each preceding paragraph.

         95.   The National Historic Preservation Act requires federal agencies to complete

consultation, pursuant to Section 106, with a tribe whose cultural and historic resources may be

affected by the federal undertaking.

         96.   Neither EPA nor the Corps has initiated NHPA Section 106 consultation with the

Menominee Tribe as to any of the cultural and historic sites that have been identified on and near

the Back Forty Mine site.

         97.   Michigan DEQ, as the delegated entity, also has not initiated NHPA Section 106

consultation with the Menominee Tribe as to any of the cultural and historic sites that have been

identified on and near the Back Forty Mine site.

         98.   Based on the foregoing, 5 U.S.C. §§ 706(1) and (2)(A) and (C), the Menominee

Tribe is entitled to an order declaring EPA and the Corps in violation of the NHPA, and their

failure to consult to be agency action unlawfully withheld, and/or arbitrary, capricious, an abuse

of discretion, and/or agency action short of statutory right, and the Tribe is entitled to an order

directing the EPA and the Corps to initiate NHPA Section 106 consultation with the Menominee

Tribe.
                                                 23

         Case 1:18-cv-00108-WCG Filed 09/11/18 Page 23 of 25 Document 35-1
                                      REQUEST FOR RELIEF

          Based on the foregoing, Menominee Indian Tribe of Wisconsin requests the following

relief:

          1.     A declaration that EPA acted in violation of the Clean Water Act and arbitrarily

and capriciously and abused its discretion in failing to exercise federal jurisdiction over the

Section 404 permitting for the Back Forty Mine;

          2.     A declaration that the Corps acted in violation of the Clean Water Act and

arbitrarily and capriciously and abused its discretion in refusing to exercise federal jurisdiction

over the Section 404 permitting for the Back Forty Mine;

          4.     An order enjoining and instructing EPA and the Corps to assume control and

exercise jurisdiction over the Section 404 permitting for the Back Forty Mine for violation of a

mandatory duty under the Clean Water Act or an order under the APA remanding to EPA and

the Corps with instruction to reconsider their denial of the Menominee Tribe’s request and their

refusal to assume control and exercise jurisdiction over the Section 404 permitting for the Back

Forty Mine;

          5.     A declaration that EPA acted arbitrarily and capriciously and contrary to the

record and law in withdrawing its objections to the Section 404 Permit for the Back Forty Mine;

          6.     An order remanding to EPA for reconsideration of the decision to withdraw its

objection to the Section 404 Permit for the Back Forty Mine;

          7.     A declaration that EPA and the Corps are in violation of the National Historic

Preservation Act for their failure to consult with the Menominee Tribe on the Section 404 Permit

for the Back Forty Mine;




                                                 24

          Case 1:18-cv-00108-WCG Filed 09/11/18 Page 24 of 25 Document 35-1
       8.     An order remanding to EPA and the Corps requiring consultation by EPA and the

Corps with the Menominee Tribe in accordance with the requirements of the National Historic

Preservation Act on the Section 404 Permit for the Back Forty Mine;

       9.     An award of Menominee Indian Tribe of Wisconsin’s costs and attorneys’ fees as

determined appropriate under the Clean Water Act and/or Equal Access to Justice Act; and

       10.    Such other and further relief as the Court deems just and equitable.


Dated: September 11, 2018.                  Respectfully submitted,

                                            /s/Janette K. Brimmer
                                            __________________________________
                                            JANETTE K. BRIMMER (WSB #41271)
                                            STEPHANIE K. TSOSIE (WSB #49840)
                                            (Admitted on January 18, 2018)
                                            Earthjustice
                                            705 Second Avenue, Suite 203
                                            Seattle, WA 98104-1711
                                            Phone: (206)343-7340 | Fax: (206)343-1526
                                            jbrimmer@earthjustice.org
                                            stsosie@earthjustice.org

                                            LINDZEY SPICE (WI #1056513)
                                            Menominee Indian Tribe of Wisconsin
                                            P.O. Box 910
                                            W2908 Tribal Office Loop Road
                                            Keshena, WI 54135
                                            Phone: (715) 799-5194
                                            lspice@mitw.org

                                            Attorneys for Plaintiff Menominee Indian Tribe of
                                            Wisconsin




                                               25

      Case 1:18-cv-00108-WCG Filed 09/11/18 Page 25 of 25 Document 35-1
